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12   Additional Counsel on Signature Block
     Lead Counsel for Plaintiffs
13
                               UNITED STATES DISTRICT COURT
14                                  DISTRICT OF NEVADA
15     JOHN V. FERRIS and JOANN M.
       FERRIS, Individually and on Behalf of All     Case No. 2:18-cv-00479-APG-BNW
16     Others Similarly Situated,
17                                                   STIPULATED AMENDED DISCOVERY
                     Plaintiffs,
                                                     PLAN AND SCHEDULING ORDER
18            v.
19     WYNN RESORTS LIMITED, STEPHEN
20     A. WYNN, CRAIG SCOTT BILLINGS,
       STEPHEN COOTEY, MATTHEW O.
21     MADDOX, JOHN J. HAGENBUCH,
       ROBERT J. MILLER, PATRICIA
22     MULROY, CLARK T. RANDT JR.,
       ALVIN V. SHOEMAKER, KIMMARIE
23
       SINATRA, DANIEL B. WAYSON, JAY
24     L. JOHNSON, RAY R. IRANI, and J.
       EDWARD VIRTUE,
25
                                   Defendants.
26

27

28
                                                 1   STIPULATED AMENDED DISCOVERY
                                                          PLAN AND SCHEDULING ORDER
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 1          Pursuant to LR 26-1, the Parties1 stipulate to the following, except as to where the Parties

 2   have set forth their respective positions regarding the submission of supplemental privilege logs

 3   and amended pleadings.

 4          WHEREAS the above referenced action is subject to the Private Securities Litigation

 5   Reform Act of 1995;

 6          WHEREAS on July 1, 2020, Plaintiffs filed their Second Amended Class Action

 7   Complaint (the “Complaint”) (Dkt. No. 122);

 8          WHEREAS on August 14, 2020, Defendants filed their motions to dismiss and/or joinders

 9   thereto (e.g., Dkt. Nos. 125, 128, 132);

10          WHEREAS on July 28, 2021, the Court granted, in part, and denied, in part, Defendants’

11   motions to dismiss (Dkt. No. 171);

12          WHEREAS on August 18, 2021 the Court entered an order granting the Parties’

13   stipulation to extend Defendants’ deadline to answer the Complaint to August 31, 2021 and the

14   deadline for the Parties’ Joint Rule 26(f) Report/proposed discovery plan and scheduling order

15   September 30, 2021 (Dkt. No. 175);

16          WHEREAS on August 31, 2021, Defendants filed their Answers to the Complaint (Dkt.

17   Nos. 176-79);

18          WHEREAS, by Order dated October 4, 2021, the Magistrate Judge who was then assigned

19   to this Case bifurcated discovery into two phases: Phase One, which was limited to issues

20   concerning class certification, and Phase Two, which encompasses merits discovery, including

21   loss causation, and damages. The Magistrate Judge who was then assigned to this Case further

22   ordered that, within 21 days of any Order concerning class certification, that the parties submit a

23   second proposed discovery plan for Phase Two discovery to address all remaining merits-based

24   and damages discovery;

25
     1
26    The Parties that remain in this action are: (1) Lead Plaintiffs John V. and JoAnn M. Ferris (“Lead
     Plaintiffs”), (2) additional named plaintiff Jeffrey Larsen (“Additional Plaintiff”, and together
27   with Lead Plaintiffs, “Plaintiffs”); and (3) Defendants Wynn Resorts Limited (“Wynn Resorts”
     or the “Company”), Stephen A. Wynn (“Wynn”), Stephen Cootey, Matthew O. Maddox, and
28   Kimmarie Sinatra (collectively, “Defendants”).
                                                  2     STIPULATED AMENDED DISCOVERY
                                                            PLAN AND SCHEDULING ORDER
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 1          WHEREAS, by Order dated March 2, 2023, the District Court granted Plaintiffs’ motion

 2   for class certification, appointed John Ferris, JoAnne Ferris, and Jeffrey Larsen as Class

 3   Representatives, and appointed Pomerantz LLP as Class Counsel (Dkt. No. 283);

 4          WHEREAS the Parties filed a Stipulated Discovery Plan and Scheduling Order on

 5   March 23, 2023, requesting a hearing for a special scheduling review. Pursuant to LR 26-1(b),

 6   this Joint Rule 26(f) Report outlined the Parties’ disagreement on the form or contents of the

 7   discovery plan and provided a statement of each party’s position on each point in dispute (Dkt.

 8   No. 285);

 9          WHEREAS a special scheduling review hearing was held before the Court on April 6,

10   2023, during which the Court ordered the Parties to file a Joint Discovery Plan and Scheduling

11   Order providing the dates ordered by the Court (Dkt. No. 295);

12          WHEREAS the Court granted the Parties’ Stipulated Discovery Plan and Scheduling

13   Order on April 28, 2023 (Dkt. No. 302);

14          WHEREAS Plaintiffs filed a Motion to Compel additional discovery on November 21,

15   2023 (Dkt. No. 327), Defendants opposed on December 5, 2023 (Dkt. Nos. 328, 330), and

16   Plaintiffs replied on December 12, 2023 (Dkt. No. 341);

17          WHEREAS Defendants filed a Motion for Protective Order on December 5, 2023 (Dkt.

18   Nos. 329-34), Plaintiffs opposed on December 22, 2023 (Dkt. No. 352), and Defendants replied

19   on January 5, 2023 (Dkt. Nos. 354-55);

20          WHEREAS Defendants filed a Motion for Partial Summary Judgment on the Alleged

21   February 12, 2018 Corrective Disclosures on November 14, 2023 (Dkt. Nos. 314-26), Plaintiffs

22   opposed on December 5, 2023 (Dkt. Nos. 335-36), and Defendants replied on December 19, 2023

23   (Dkt. Nos. 343-45);

24          WHEREAS a hearing was held before the Court on February 12, 2024 regarding

25   Plaintiffs’ Motion to Compel and Defendants’ Motion for Protective Order, and a hearing was set

26   for rulings on the motions (Dkt. No. 365);

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                                                  3   STIPULATED AMENDED DISCOVERY
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 1          WHEREAS Plaintiffs moved for an extension of the fact discovery deadline from May 31,

 2   2024 until August 29, 2024 (Dkt. No. 362), and by Order dated March 36, 2024, the Court granted

 3   the Motion (Dkt. No. 363);

 4          WHEREAS Plaintiffs filed a Motion to Compel regarding Defendants’ privilege log on

 5   May 22, 2024 (Dkt. No. 366);

 6          WHEREAS a hearing was held before the Court on May 24, 2024 granting in part and

 7   denying in part Plaintiffs’ Motion to Compel additional discovery, granting in part and denying

 8   in part Defendants’ Motion for Protective Order, and suspending the briefing for Plaintiffs’

 9   Motion to Compel regarding Defendants’ privilege log in consideration of the appointment of a

10   Special Master (Dkt. Nos. 371);

11          WHEREAS, by Order dated May 29, 2024, the Court denied Defendants’ Motion for

12   Partial Summary Judgment without prejudice to refile the motion no sooner than 30 days after

13   Defendants’ compliance with the Court’s May 24, 2024 Order at Dkt. No. 373 and any Order in

14   relation to Plaintiff’s Motion to Compel regarding Defendants’ privilege log (Dkt. No. 366) (Dkt.

15   No. 375);

16          WHEREAS, by Order dated June 4, 2024, the Court denied Plaintiffs’ Motion to Compel

17   without prejudice in light of an impending appointment of a Special Master (Dkt. No. 378);

18          WHEREAS the Court indicated the Parties should submit a proposed amended schedule

19   and discovery plan.

20                     STIPULATED SCHEDULE AND DISCOVERY PLAN

21          1.      This case is to be tried to a jury.

22          2.      Service of all papers may be made by email on the Parties.

23          3.      Alternative Forms of Case Disposition: The Parties have considered consent to

24   trial by a magistrate judge under 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73 and the use of the

25   Short Trial Program (General Order 2013-01) and do not consent, but the Parties may at any later

26   time consent to such alternative forms of case disposition.

27          4.      Initial Disclosures: The Parties exchanged their initial disclosures under Fed. R.

28   Civ. P. 26(a) on Friday, September 24, 2021.
                                                    4     STIPULATED AMENDED DISCOVERY
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 1          5.      Defendants’ Amended Response to Plaintiffs’ First Request for Production:

 2                  (a)     Defendants’ amended responses to Plaintiffs’ First Request for Production

 3   of Documents to Defendants, dated September 15, 2021, were served on the necessary parties on

 4   Thursday, April 27, 2023.

 5          6.      Fact Discovery:

 6                  (a)     Documents shall be produced on a rolling basis.

 7                  (b)     Initial privilege logs were produced by Wednesday, January 31, 2024.

 8                  (c)     Supplemental document productions shall be completed by Friday,

 9                          September 13, 2024.

10                  (d)     Supplemental privilege logs for additional document productions shall be

11                          submitted by Friday, October 4, 2024.

12                          (i)    Plaintiffs’ Position: A supplemental privilege log related to the

13   expedited discovery ordered by the Court in Dkt. No. 373 shall be submitted within 21 days of

14   production of such expedited discovery.

15                          (ii)   Defendants’     Position:    The   parties   have    stipulated   that

16   supplemental privilege logs encompassing all additional document productions shall be submitted

17   by Friday, October 4, 2024. In light of this, a separate supplemental privilege log related

18   specifically to the expedited discovery is unnecessary and would be burdensome. A single

19   deadline for a supplemental privilege log of all additional discovery would allow for efficient and

20   productive discussions should the parties have privilege disputes as to certain entries.

21                  (e)     All fact discovery (including depositions) must be concluded by

22                          Wednesday, November 27, 2024.

23          7.      Expert Discovery:

24                  (a)     Expert discovery must be completed by Wednesday, May 14, 2025.

25                  (b)     Expert discovery (including expert depositions) will be sequenced to allow

26   Defendants to depose Plaintiffs’ experts prior to Defendants’ submitting their opening reports.

27                  (c)     Expert disclosures conforming with Rule 26 must be made no later than

28   the following dates:
                                                  5      STIPULATED AMENDED DISCOVERY
                                                             PLAN AND SCHEDULING ORDER
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 1                          (i)      Plaintiffs’ opening expert reports, if any, shall be submitted by

 2   Wednesday, December 4, 2024.

 3                          (ii)     Plaintiffs’ opening experts shall be deposed by Wednesday,

 4   January 15, 2025.

 5                          (iii)    Defendants’ opening expert reports, if any, shall be submitted by

 6   Wednesday, February 26, 2025.

 7                          (iv)     Defendants’ opening experts shall be deposed by Wednesday,

 8   April 9, 2025.

 9                          (v)      Rebuttal expert reports shall be submitted by Wednesday, May 14,

10   2025.

11           8.       Amended Pleadings and Additional Parties:

12                    (a)   Plaintiffs’ Position: Amended pleadings shall be filed within 60 days

13   after the close of fact discovery, in order to provide Plaintiffs with the necessary time to review

14   the additional documents that Defendants were ordered to produce pursuant to this Court’s May

15   24, 2024 Discovery Order. Setting the deadline for motions to amend the pleadings after the close

16   of fact discovery is consistent with the Stipulated Discovery Plan and Scheduling Order pursuant

17   to the Court’s April 6, 2023 Motion Hearing Order, which provided that any motion to amend the

18   pleadings may be made after the close of fact discovery.

19                    (b)   Defendants’ Position: As the class has been certified, no additional parties

20   may be joined at this stage, and no pleading may be amended. However, should the Court permit

21   amended pleadings, the original deadline of Friday, June 28, 2024 should remain. Amended

22   pleadings or additional parties would require the parties to conduct additional discovery, so any

23   amendment should occur before the close of fact discovery. Further, Plaintiffs have all the

24   information they need to amend the pleadings at this time; the extension to the fact discovery

25   deadline is to account for the production of supplemental discovery, which has no bearing on

26   Plaintiffs’ ability to amend.

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                                                   6     STIPULATED AMENDED DISCOVERY
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 1          9.      Dispositive Motions:

 2                  (a)     The following deadlines shall apply to any Daubert or summary judgment

 3   motions filed by any party to this action:

 4                          (i)     Any Daubert or summary judgment motion, if any, shall be filed

 5   by Monday, July 14, 2025.

 6                          (ii)    Any opposition to any Daubert or summary judgment motion, if

 7   any, shall be filed within 60 days of the opening brief.

 8                          (iii)   Any reply in support of a Daubert or summary judgment motion,

 9   if any, shall be filed within 60 days of the opposition brief.

10          10.     Pretrial Order:

11                  (a)     If dispositive motions are not filed, a joint pretrial order, together with all

12   other pretrial submissions required by those rules (not including in limine motions), shall be

13   submitted on or before Monday, August 11, 2025. However, in accordance with LR 26-1(b)(5),

14   if dispositive motions are filed, the deadline for filing the joint pretrial order will be suspended

15   until 30 days after the court issues decision on the dispositive motions or further court order.

16                  (b)     The Court shall hold a pre-trial conference on a date to be announced.

17                  (c)     Trial shall begin on a date to be announced.

18          11.     Depositions:

19                  (a)     Depositions will be governed by Federal Rule of Civil Procedure 30. If

20   either party wants to take additional depositions beyond the 10 allotted under Rule 30, then they

21   must follow Rule 30(a)(2)’s requirements.

22          12.     Electronic Evidence: The Parties have discussed whether they intend to present

23   evidence in electronic format to jurors for the purposes of jury deliberations and did not reach any

24   stipulations regarding providing discovery in an electronic format compatible with the court’s

25   electronic jury evidence display system. The Parties intend to revisit the presentation of evidence

26   in electronic format to the jury for the purposes of jury deliberations in advance of the filing of

27   the joint pretrial order, and the Parties anticipate setting forth any stipulations reached as a result

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 1   of those discussions in the joint pretrial order or other submission submitted at the same time as

 2   the joint pretrial order.

 3

 4   Upon consent of the parties:

 5
      DATED: June 18, 2024                             KIRKLAND & ELLIS LLP
 6

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                                                  8     STIPULATED AMENDED DISCOVERY
                                                            PLAN AND SCHEDULING ORDER
        Case 2:18-cv-00479-APG-BNW Document 388 Filed 06/21/24 Page 9 of 12



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22   DATED: June 18, 2024                 /s/ Dylan T. Ciciliano
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                                      9   STIPULATED AMENDED DISCOVERY
                                              PLAN AND SCHEDULING ORDER
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                                     10   STIPULATED AMENDED DISCOVERY
                                              PLAN AND SCHEDULING ORDER
        Case 2:18-cv-00479-APG-BNW Document 388 Filed 06/21/24 Page 11 of 12




 1   IT IS SO ORDERED:
 2

 3          June 21
     Dated ___________________, 2024
     Las Vegas, Nevada                               THE HONORABLE BRENDA WEKSLER
 4
                                                     UNITED STATES MAGISTRATE JUDGE
 5

 6   IT IS FURTHER ORDERED that a supplemental privilege log related to the expedited
 7   discovery ordered by the Court at ECF No. 373 shall be submitted within 21 days of
 8   production of such expedited discovery.
 9   IT IS FURTHER ORDERED that the deadline to amend pleadings is July 31, 2024.
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                                               11    STIPULATED AMENDED DISCOVERY
                                                         PLAN AND SCHEDULING ORDER
         Case 2:18-cv-00479-APG-BNW Document 388 Filed 06/21/24 Page 12 of 12



                                    CERTIFICATE OF SERVICE
 1

 2          On June 18, 2024, I served the foregoing document on all parties appearing in this case
     when filing said document through the Court’s PACER system with automatic e-service on all
 3
     persons who have registered for e-service on PACER for this case.
 4

 5                                               /s/ Laura Bay
                                                 An employee of KIRKLAND & ELLIS LLP
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                                                12    STIPULATED AMENDED DISCOVERY
                                                          PLAN AND SCHEDULING ORDER
